       Case 4:12-cr-00070-DPM Document 188 Filed 02/07/13 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                         PLAINTIFF

v.                         No. 4:12-cr-70-DPM-1

JASON PATRICK HARCOURT                                       DEFENDANT


                                  ORDER

     The Court exercises its discretion under 18 U.S.C. §§ 3553(a) & 3584 to

order Harcourt's federal sentence to run concurrent with any yet-to-be

imposed state-court sentence arising from the pending charges in Pulaski

County, Arkansas case no. CR-12-1222. Setser v. United States, 132 S.Ct. 1463,

1468 (2012). Unopposed motion, Document No. 187, granted.

     So Ordered.


                                         D.P. Marshall Jr.
                                         United States District Judge
